Case 2:20-mj-01725 Document 1 Filed on 09/30/20 in TXSD Page 1 of 2

AO OL (Rev 1012) Criminal Complaint

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United States Courts

UNITED STATES DISTRICT COURT —_SauhomDaystoftxas
for the ~_
SEP 30 2020

David J. Bradley, Clerk of Court

Southem District of Texas

 

 

 

United States of America )
v. )
Troy Jay BIRD Case No. C ° dwo-]7ASM
)
)
)
Defendani{s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 29, 2020 in the county of Nueces in the
Southern —s- Diswictof —=s—s§ »« Texas , the defendant(s) violated:
Code Section Offense Description
21U.S.C, § 844 Possession with the intent to distribute a controlled substance in Schedule ll
of the Controlled Substance Act of 1970, to wit; more than 50 grams of
methamphetamine.

This criminal complaint is based on these facis:

See Altachment A

@ Continued on the attached sheet.

Complainant's signature

Lance Rathke, Task Force Officer
Printed name and title

 

Submitted by reliable electronic means, sworn to, signature
attested telephonically per Fed.R.Crim.P. 4.1, and probable
cause found:

Date: Ses [£C FOR

City and state: Corp 8 Christi, Texas Jason B. Libby, United States Magistrate Judge

~ Printed name and title

 

 

 

 
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BIRD, Troy Jay

ATTACHMENT “A”

On September 29, 2020 agents executed a f ederal search warrant in Corpus Christi, Texas
previously identif ied as a business and residence of Troy BIRD. During the execution of the
warrant, approximately 397 grams of suspected methamphetamine was recovered from BIRD's
bedroom A presumptive test was perf ormed on the suspected methamphetamine and returned a
positive result f or the presence of methamphetamine. Also located near the methamphetamine
were packaging materials and scales. The quantity of the methamphetamine discovered, in
combination with packaging materials and scales, inf ers that the methamphetamine was
possessed with the intent to distribute.

On September 29, 2020, AUSA Dennis Robinson was contacted based upon the above f acts
and accepted prosecution of Troy BIRD f or violations of 21 United States Code 841,
Possession with the intent to distribute a controlled substance in Schedule II of the Controlled
Substance Act of 1970. To Wit; more than fifty (50) grams of methamphetamine.

    

Cance Rathke, Task Force Officer
Homeland Security Investigations

Submitted by reliable electronic means, sworn to,

signature attested telephonically per Fed.R.Crim.P. 4.1, and Vif found:

Ll
Jason B. Libby J ae
Jeon States Magis

  
